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AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF CALIFORNIA
                                                AMENDED JUDGMENT IN A CRIMINAL
              UNITED STATES OF AMERICA
                                                CASE
                                                (For Offenses Committed On or After November 1, 1987)
                         V.

              JUAN MANUEL CAZESSUS (1)                                             Case Number: 19CR1050-CAB

                                                                               GERALD T. McFADDEN
                                                                               Defendant’s Attorney
USM Number                        38344098
    Modification of Imposed Term of Imprisonment for Extraordinary and Compelling Reasons (18 U.S.C § 3582(c)(1))
☒
THE DEFENDANT:
☒ pleaded guilty to count(s)             ONE (1) OF THE TWO-COUNT INFORMATION

☐ was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                           Count
Title & Section                      Nature of Offense                                                                                    Number(s)
21 USC 952, 960                      IMPORTATION OF COCAINE                                                                                  1

.                                    .




    The defendant is sentenced as provided in pages 2 through                              5           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☒ Count(s)        TWO (2) OF THE INFORMATION                            is            dismissed on the Court’s motion.

     Assessment : $100.00
☒    Pursuant to the motion of the United States under 18 USC 3573, the special assessment provided for under 18 USC 3013 is
     waived and remitted as uncollectible.
☐ JVTA Assessment*: $
     *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
☒ No fine                       ☐ Forfeiture pursuant to order filed                                                               , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

                                                                               October 15, 2020
                                                                               Date of Imposition of Sentence
                                    _____ Reside in a Residential Reentry Center (RRC) as directed by the            ___Residir en un Centro Residencial de Reinserción So
                                    probation officer for a period of ??? days. (Punitive)                           inglés) de acuerdo con lo que le ordene el oficial del De
                                                                                                                     Supervisión de Infractores durante un período de ??? dí
                                                                               HON. Cathy Ann Bencivengo
                                                                                 UNITED
                                    ____Not enter or be present in any bar or establishment    STATES
                                                                                            where              DISTRICT
                                                                                                   alcohol is the  ____No JUDGE
                                                                                                                            entrar ni estar presente en ningún bar o establec
                                    primary item for sale, unless given permission by the probation officer.       principalmente a la venta de bebidas alcohólicas a meno
                                                                                                                   le dé permiso.

                                    ____Not engage in any employment or profession involving fiduciary               ____No dedicarse a ninguna profesión ni tener un traba
                                    responsibilities.                                                                fiduciarias.
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                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 TIME SERVED.



                                                                               B
                                                                               A
                                                                               U
 ☐     Sentence imposed pursuant to Title 8 USC Section 1326(b).               R
                                                                               N
 ☒     The court makes the following recommendations to the Bureau of Prisons: R
                                                                               I
       SCREEN FOR RESIDENTIAL DRUG AND ALCOHOL PROGRAMY                        T (RDAP) AND PLACEMENT AT
                                                                               T
                                                                               E
       TERMINAL ISLAND FCI
                                                                               E
                                                                               D
                                                                               D
                                                                               S
                                                                               M
                                                                               T
                                                                               O
                                                                               A
 ☐     The defendant is remanded to the custody of the United States Marshal.  S
                                                                               T
                                                                               K
                                                                               E
 ☐                                                                             O
                                                                               S
       The defendant must surrender to the United States Marshal for this district:
                                                                               W
                                                                               D
       ☐ at                             A.M.             on                    I
                                                                               T
                                                                               S
       ☐ as notified by the United States Marshal.
                                                                               Z
                                                                               T
                                                                               R
       The defendant must surrender for service of sentence at the institution designated by the Bureau of
 ☐                                                                             I
       Prisons:                                                                C
       ☐ on or before                                                          T
                                                                               J
       ☐ as notified by the United States Marshal.                             U
       ☐ as notified by the Probation or Pretrial Services Office.             D
                                                                               G
                                                                               E
                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                       , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



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                                               SUPERVISED RELEASE
Upon release from imprisonment, the defendant will be on supervised release for a term of:
FOUR (4) YEARS.

                                            MANDATORY CONDITIONS
1. The defendant must not commit another federal, state or local crime.
2. The defendant must not unlawfully possess a controlled substance.
3. The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of a
   controlled substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at least
   two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more
   than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court.
         ☐The above drug testing condition is suspended, based on the court's determination that the defendant poses a low
           risk of future substance abuse. (check if applicable)
4. ☐The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
   a sentence of restitution. (check if applicable)
5. ☒The defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6. ☐The defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
   20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
   the location where the defendant resides, works, is a student, or was convicted of a qualifying offense. (check if
   applicable)
7. ☐The defendant must participate in an approved program for domestic violence. (check if applicable)

The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.




                                   STANDARD CONDITIONS OF SUPERVISION

                                                                                               19CR1050-CAB
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As part of the defendant’s supervised release, the defendant must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for the defendant’s behavior
while on supervision and identify the minimum tools needed by probation officers to keep informed, report to the
court about, and bring about improvements in the defendant’s conduct and condition.

1. The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
   hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
   office or within a different time frame.

2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
   about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
   as instructed.

3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
   getting permission from the court or the probation officer.

4. The defendant must answer truthfully the questions asked by their probation officer.

5. The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
   anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
   probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
   unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a change or
   expected change.

6. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
   permit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
   view.

7. The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
   excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to find full-
   time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
   defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
   probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
   due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
   change or expected change.

8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant
   knows someone has been convicted of a felony, they must not knowingly communicate or interact with that person without
   first getting the permission of the probation officer.

9. If the defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.

10. The defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such
    as nunchakus or tasers).

11. The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12. If the probation officer determines the defendant poses a risk to another person (including an organization), the probation
    officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
    The probation officer may contact the person and confirm that the defendant notified the person about the risk.

13. The defendant must follow the instructions of the probation officer related to the conditions of supervision.




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                              SPECIAL CONDITIONS OF SUPERVISION

        1. Be monitored for a period of 365 days, with the location monitoring technology at the
           discretion of the probation officer. The offender must abide by all technology requirements
           and must pay all or part of the costs of participation in the location monitoring program , as
           directed by the court and/or the probation officer. In addition to other court-imposed
           conditions of release, the offender’s movement in the community must be restricted as
           specified below:

             (Home Detention)

          You are restricted to your residence at all times except for other than for his necessary medical
          appointments, drug counseling and testing, and any other activities as preapproved by the probation
          officer.


      2. Not enter or reside in the Republic of Mexico without permission of the court or probation officer and
         comply with both United States and Mexican immigration laws.

      3. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
         and counseling, as directed by the probation officer. Allow for reciprocal release of information
         between the probation officer and the treatment provider. May be required to contribute to the costs
         of services rendered in an amount to be determined by the probation officer, based on ability to pay.

      4. Report vehicles owned or operated, or in which you have an interest, to the probation officer.

      5. Submit your person, property, house, residence, vehicle, papers, [computers (as defined in 18 U.S.C.
         Sec. 1030(e)(1)), other electronic communications or data storage devices or media,] or office, to a
         search conducted by a United States Probation Officer. Failure to submit to a search may be grounds
         for revocation of release. The officer must warn any other occupants that the premises may be subject
         to searches pursuant to this condition. An officer may conduct a search pursuant to this condition only
         when reasonable suspicion exists that the offender has violated a condition of his supervision and that
         the areas to be searched contain evidence of this violation. Any search must be conducted at a
         reasonable time and in a reasonable manner.



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